                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                                   KNOXVILLE DIVISION

  ----------------------------------------------------------------X
                                                                  :
  LEWIS COSBY, KENNETH R. MARTIN, as                              : No. 3:16-cv-121
  beneficiary of the Kenneth Ray Martin Roth IRA,                 :
  and MARTIN WEAKLEY on behalf of themselves :
  and all others similarly situated,                              :
                                                                  :
                                      Plaintiffs,                 :
                                                                  :
                             v.                                   :
                                                                  :
  KPMG LLP,                                                       :
                                                                  :
                                      Defendant.                  :
  ----------------------------------------------------------------X


                MEMORANDUM OF LAW IN SUPPORT OF KPMG LLP’s
               MOTION TO DISMISS THE SECOND AMENDED COMPLAINT

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         KPMG LLP (“KPMG”) respectfully submits this memorandum in support of its motion

  to dismiss the Second Amended Class Action Complaint dated September 15, 2017 (“SAC”).1

                                   PRELIMINARY STATEMENT

         The claims under Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange

  Act”) on behalf of purchasers of the common stock of Miller Energy Resources, Inc. (“Miller

  Energy” or the “Company”)—Counts One and Two—fail because: (1) Plaintiffs have not alleged

  facts giving rise to the “strong” inference of scienter required by the Private Securities Litigation

  Reform Act (the “PSLRA”); (2) Plaintiffs have not pleaded loss causation; and (3) the claims,

  filed more than two years after discovery of the relevant facts, are time-barred. Also, Count One

  fails because Plaintiffs have not pleaded an actionable misstatement of opinion under Omnicare,

  Inc. v. Laborers District Counsel Construction Industry Pension Fund, 135 S. Ct. 1318 (2015),

  and Count Two fails because Plaintiffs have not alleged an actionable “scheme” under

  Stoneridge Investment Partners, LLC v. Scientific-Atlanta, Inc., 552 U.S. 148 (2007).

         The claim under Section 11 of the Securities Act of 1933 (the “Securities Act”) by a new

  plaintiff (Martin Weakley) on behalf of a proposed class of preferred stock purchasers—Count

  Three—also must be dismissed. First, Mr. Weakley did not apply to serve as lead plaintiff and is

  not authorized to assert claims for preferred shareholders; the Gaynor v. Miller plaintiffs were

  appointed to represent these shareholders. Second, as the preferred shares were bona fide offered

  more than three years prior to the filing of the SAC, the claim is barred by the three-year statute

  of repose. Third, as Plaintiffs had notice more than one year prior to asserting the claim, it is

  barred by the one-year statute of limitations. Fourth, the claim is not viable under Omnicare.



         1
          Plaintiffs filed the initial complaint in this case (the “Initial Complaint”) on March 14,
  2016 and a first amended complaint (“FAC”) on May 8, 2017.



                                      1
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                             ALLEGATIONS OF THE COMPLAINT

  A.     Miller Energy’s acquisition of the Alaska Assets

         On December 10, 2009, Miller Energy acquired certain assets in Alaska (the “Alaska

  Assets”), along with related liabilities, for approximately $4.5 million from a bankrupt company.

  (SAC ¶ 46.) The Alaska Assets included 602,000 acres of oil and gas leases; hundreds of miles

  of geologic seismic data; pipelines, roads, pads, and equipment; onshore and offshore production

  and processing facilities including an offshore energy platform; and millions of barrels of

  proved, probable, and possible oil and gas reserves. (Ex. 1 at 17, F-15, F-27.)2

         Miller Energy accounted for the transaction in which it acquired the Alaska Assets and

  related liabilities as a “business combination” pursuant to generally accepted accounting

  principles (“GAAP”), which required it to estimate the fair values of the assets and liabilities and

  recognize any resulting “bargain purchase.” (Ex. 1 at 39-40.) Miller Energy valued the acquired

  assets at $479 million and the liabilities at $203 million, and recorded a bargain purchase gain of

  $277 million. (SAC ¶ 52; Ex. 1 at 32.) Plaintiffs acknowledge that Miller Energy’s estimate of

  the value of the Alaska Assets was informed by a reserve report of a petroleum engineering firm,

  which estimated the present value of expected net cash flows to be $368 million, although

  Plaintiffs allege that such reports do not alone constitute estimates of “fair value.” (SAC ¶¶ 49-

  50.) The Company disclosed its accounting treatment and valuations in its annual report for the

  year ended April 30, 2010 (“Fiscal 2010”). (SAC ¶ 52 n.6; see Ex. 1.) Sherb & Co., LLP (“Sherb

  & Co.”) audited those financial statements and issued an unqualified opinion. (Ex. 1 at F-2.)

         2
           Citations in the form “Ex. __” are to exhibits to the Declaration of Tera Rica Murdock,
  which are documents integral to the complaint and/or public records that the Court may consider
  on this motion. Gaynor v. Miller, No. 3:15-CV-545-TAV-CCS, 2017 U.S. Dist. LEXIS 130107,
  at *9 n.4 (E.D. Tenn. Aug. 11, 2017); In re Miller Energy Rec. Sec. Litig., No. 3:11–CV–386–
  TAV–CCS, 2014 WL 415730, at *13 (E.D. Tenn. Feb. 4, 2014)



                                      2
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         In early 2011, in three letters, the Division of Corporation Finance of the Securities and

  Exchange Commission (the “SEC”) inquired about the Company’s valuation of the Alaska

  Assets and the bargain purchase gain reported in the Form 10-K for Fiscal 2010. (SAC ¶ 66; see

  Exs. 2-4.) Miller provided detailed responses. (Exs. 5-7.) On July 20, 2012, the SEC issued a

  letter stating that it had completed its review. (Ex. 8.) These letters were publicly filed with the

  SEC. The Company appeared to have addressed the SEC’s concerns satisfactorily.

  B.     KPMG’s audits

         In February 2011, Miller Energy engaged KPMG to replace Sherb & Co. as its auditors.

  (SAC ¶ 63.) As Plaintiffs have acknowledged, once engaged, KPMG required Miller Energy to

  re-state its prior financial statements to correct certain errors: “[a]lthough Miller Energy’s prior

  financial statements had been audited by the Sherb firm . . . , as part of its review of prior

  financial statements, KPMG required Miller Energy to re-state and correct previously-issued

  quarterly reports and filings with the SEC and its shareholders.” (FAC ¶ 74.)

         KPMG never issued an unqualified opinion on Miller Energy’s internal controls; each

  year, KPMG either declined to issue an opinion or issued an adverse opinion. (SAC ¶¶ 91, 93,

  96, 184, 186, 188.) In Fiscal 2011, as management had not completed its assessment of the

  effectiveness of its internal controls, KPMG was unable to render an opinion, and the Form 10-K

  was considered deficient. This was disclosed in the Form 10-K. (Ex. 9 at Explanatory Note &

  43-44.) In its audit reports on internal controls for Fiscal 2012 through 2014, KPMG reported a

  “material weakness” in the Company’s controls arising from “an insufficient complement of

  corporate accounting and finance personnel to consistently operate management review controls”

  and stated KPMG’s opinion that “the Company has not maintained effective control over

  financial reporting.” (Ex. 10 at 45 & F-1; Ex. 11 at 16, 49-50, F-1; Ex. 12 at 19, 59-60, F-2.)




                                      3
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         KPMG issued unqualified opinions on the Company’s financial statements for Fiscal

  Years 2011 through 2014. (SAC ¶ 73.) KPMG’s audits were performed in accordance with the

  standards of the Public Company Accounting Oversight Board (the “PCAOB”)3 which direct

  auditors to obtain “reasonable assurance” about whether financial statements are free of material

  misstatement. (Ex. 9 at F-2; Ex. 10 at F-2; Ex. 11 at F-2; Ex. 12 at F-1.) Financial statements

  “are the responsibility of the Company’s management,” and KPMG’s responsibility was “to

  express an opinion” on the financial statements based on its audit. (Ex. 9 at F-2; Ex. 10 at F-2;

  Ex. 11 at F-2; Ex. 12 at F-1.) KPMG’s audit reports stated that KPMG believed its audits

  provided “a reasonable basis for our opinion” that the Company’s financial statements presented

  fairly, in all material respects, its financial position in accordance with GAAP. (Ex. 9 at F-2; Ex.

  10 at F-2; Ex. 11 at F-2; Ex. 12 at F-1.) KPMG’s audit reports on the financial statements for

  Fiscal Years 2012 through 2014 reiterated that KPMG had issued “an adverse opinion” on the

  Company’s internal controls in those years. (Ex. 10 at F-2; Ex. 11 at F-2; Ex. 12 at F-1.)

  C.     Prior securities litigation and the SEC investigation

         In 2011, shareholders filed class action litigation alleging that Miller Energy overvalued

  the Alaska Assets. (SAC ¶ 147.) In February 2014, this Court ruled on motions to dismiss,

  holding that Section 10(b) fraud claims against the Company and some individuals were

  adequately pleaded. In re Miller Energy Rec. Sec. Litig., No. 3:11–CV–386–TAV–CCS, 2014

  WL 415730 (E.D. Tenn. Feb. 4, 2014).

         The SEC conducted an investigation and charged Miller Energy and certain individuals

  with securities law violations in connection with the Company’s accounting for the Alaska

         3
         Since 2002, the PCAOB has been responsible for adopting auditing standards for public
  companies. The PCAOB initially adopted existing generally accepted auditing standards
  (“GAAS”) of the American Institute of Certified Public Accountants. (SAC ¶ 76.)



                                      4
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   Assets. (SAC ¶¶ 4, 66, 228-230, 233-234, 237.) In January 2016, the SEC entered an order

   making findings and imposing sanctions against Miller Energy for, among other things, federal

   securities fraud. (SAC ¶¶ 233-234; see Ex. 13.) On June 7, 2016, the SEC entered orders making

   findings and imposing sanctions against the Company’s chief executive officer (David M. Hall),

   its chief financial officer (Paul W. Boyd), and an outside auditor from Sherb & Co. (Carlton W.

   Vogt, III). (SAC ¶ 237; see Exs. 14-16.) The SEC found that Mr. Hall and Mr. Boyd (but not Mr.

   Vogt) committed federal securities fraud. (Ex. 14 at ¶ 43; Ex. 15 at ¶ 47; Ex. 16 at ¶ 62.)

          On August 15, 2017, the SEC issued an order finding that, in its audits of Miller Energy’s

   financial statements, KPMG acted negligently, but not fraudulently. (SAC ¶¶ 6-9 & passim; Ex.

   47.) The SEC found that KPMG engaged in improper professional conduct under Rule

   102(e)(1)(ii) and Rule 102(e)(1)(iv)(B) of the SEC’s Rules of Practice. (Ex. 47.) These

   subsections of the rule cover “two types of negligent conduct: (1) [a] single instance of highly

   unreasonable conduct . . . in circumstances in which an accountant knows, or should know, that

   heightened scrutiny is warranted” and (2) [r]epeated instances of unreasonable conduct.” SEC

   Rules of Practice, 17 C.F.R. §201.102 (2017) (emphasis added).4 A separate subsection, Rule

   102(e)(1)(iv)(A), covers intentional, knowing, and reckless conduct; the SEC brought no charges

   and made no findings against KPMG under this subsection. The SEC did not find that KPMG

   committed securities fraud or fraud of any kind. (Ex. 47.) The SEC did not find that KPMG

   committed any scienter-based or recklessness-based violation of any law or rule. (Ex. 47.)




          4
            See also SEC Release No. 33-7593, Amendment to Rule 102(e) of the Commission’s
   Rules of Practice (Oct. 19, 1998) (“highly unreasonable” covers only conduct “greater than
   ordinary negligence but less than recklessness”).



                                       5
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          The SEC did not find that KPMG performed “no audit at all;” rather, the SEC found that

   KPMG’s audit work was deficient in some respects.5 The SEC found that KPMG negligently

   failed to comply with auditing standards, but did not find that it engaged in intentional,

   fraudulent, manipulative, deceptive, or reckless conduct.



          5
             (Ex. 47 at ¶ 2 (“Although KPMG . . . did undertake some audit procedures relating to
   the opening balances, these procedures failed to appropriately consider the facts leading to
   Miller Energy’s acquisition of the Alaska Assets”) (emphasis added); id. at ¶ (KPMG “failed to
   sufficiently review certain forecasted costs”) (emphasis added); id. at ¶ 3 (“the firm did not take
   sufficient action to confirm an appropriate response”) (emphasis added); id. at ¶ 22 (“engagement
   team performed an inadequate assessment of the risks”) (emphasis added); id. at ¶ 22 (KPMG
   “assigned the Miller Energy engagement an overall risk grade of ‘medium,’ which was not
   reevaluated and changed to ‘high’ until after KPMG issued its unqualified opinion on the
   company’s fiscal 2011 financial statements”); id. at ¶ 23 (“failed to adequately address the audit
   team’s lack of industry experience”) (emphasis added); id. at ¶ 24 (“the assignment of valuation
   specialists (whose scope and objectives were defined by the engagement partner) and a senior
   manager, all of whom had significant oil and gas experience, did not adequately mitigate
   KPMG’s failure to assign a partner-in-charge with sufficient prior oil and gas experience”)
   (emphasis added); id. at ¶ 26 (“KPMG . . . performed additional audit and review procedures in
   an attempt to obtain sufficient competent evidence regarding the impact of the opening balances
   on the current period’s financial statements”); id. at ¶ 27 (“Riordan reviewed the reserve report
   and sought assistance from KPMG’s internal valuation specialists, Economic and Valuation
   Services (‘EVS’), in connection with the core engagement team’s review and audit procedures
   over the fair value of the Alaska Assets”); id. at ¶ 37 (“In an effort to evaluate whether the
   valuation of the Alaska Assets was misstated . . ., the core engagement team . . . gave EVS the
   reserve report . . . and requested assistance in testing Miller Energy’s recorded fair value for the
   Alaska Assets.”); id. at ¶ 40 (“EVS created an estimated range of possible fair values, using its
   own assumptions for some of the inputs, to assess whether Miller Energy’s overall fair value
   number was reasonable”); id. at ¶ 41 (“Although the results of this analysis appeared to support
   Miller Energy’s fair value measurement, EVS’s substitute assumptions were themselves flawed
   and insufficiently substantiated.”); id. at ¶ 42 (KPMG accepted assumptions “without adequately
   reviewing the reasonableness of those assumptions”) (emphasis added); id. at ¶ 44 (“Had the
   engagement team performed additional procedures on the costs estimates . . ., they could have
   identified contrary evidence”) (emphasis added); id. at ¶ 45 (“KPMG . . . did not adequately
   identify or inquire . . . . Further inquiry likely would have likely led the core engagement team to
   discover . . .”) (emphasis added); id. at ¶ 49 (KPMG “made an inquiry to the third-party
   petroleum engineer firm . . . about the forecasted costs . . . . In response to this inquiry, an
   employee of the engineer firm informed the core engagement team that his firm had sufficient
   cost data to prepare the 2011 reserve report . . . . In any event, inquiry alone was not a sufficient
   method to test the data”) (emphasis added); id. at ¶ 57 (“Once the valuation test work had begun,
   KPMG and Riordan failed to properly supervise EVS and its work.”).



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   D.     The claims against KPMG

          Count One of the SAC is a Section 10(b) claim asserted on behalf of a proposed class of

   common stock purchasers based on the allegation that KPMG’s audit reports on Miller Energy’s

   financial statements for Fiscal 2011 through 2014, included in the Company’s Form 10-Ks, were

   false. (SAC ¶¶ 182-188, 256-273; see Ex. 9 at F-2; Ex. 10 at F-2; Ex. 11 at F-2; Ex. 12 at F-1.)

          Count Two, also asserted on behalf of common stock purchasers, is based on “devices,

   schemes and artifices” under subsections (a) and (c) of Rule 10b-5, promulgated by the SEC

   pursuant to Section 10(b). (SAC ¶¶ 275, 277.) For this claim, Plaintiffs assert that they “need not

   allege . . . that KPMG made any misrepresentations or omissions of material fact.” (SAC ¶ 275.)

          Count Three is a Section 11 claim asserted by a new plaintiff, Martin Weakley, on behalf

   of “[a]ll those who purchased Miller Energy preferred shares pursuant to or traceable to the

   Offering Documents,” defined to including a September 6, 2012 Registration Statement and six

   prospectus supplements issued from February 13, 2013 through August 20, 2014. (SAC ¶¶ 33,

   285-186 (emphasis added).)6 The SAC alleges that there were six separate offerings of preferred

   shares pursuant to six separate prospectus supplements from February 2013 through August

   2014—the “February 13, 2013 Preferred Stock Offering,” the “May 7, 2013 Preferred Stock

   Offering,” the June 27, 2013 Preferred Stock Offering,” the September 25, 2013 Preferred Stock

   Offering,” the “October 17, 2013 Preferred Stock Offering,” and the “August 20, 2014 Preferred

   Stock Offering.” (SAC ¶¶ 287-292.) Plaintiffs assert the Section 11 claim in connection with the

   latter five of those six offerings. (SAC ¶ 317 (“This Count is brought in connection with each of

   the Offerings (except for the February 13, 2013 Offering)”).)



          6
           The Initial Complaint and the FAC asserted claims only on behalf of common stock
   purchasers. They asserted no claim on behalf of preferred stock purchasers.



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                                              ARGUMENT

   I.     The Section 10(b) claims must be dismissed

          A.      Plaintiffs fail to plead scienter

          Plaintiffs’ Section 10(b) claims must be dismissed because Plaintiffs have not pleaded

   facts giving rise to a “strong inference” that KPMG acted with the required state of mind. 15

   U.S.C. § 78u-4(b)(2). The required state of mind is an “intent to deceive, manipulate or defraud.”

   Ernst & Ernst v. Hochfelder, 425 U.S. 185, 193 n.12 (1976). Recklessness may suffice, but only

   if it is so severe that it amounts to “highly unreasonable conduct which is an extreme departure

   from the standards of ordinary care,” Mansbach v. Prescott, Ball & Turben et al., 598 F.2d 1017,

   25 (6th Cir. 1979). The Court is to view the complaint “holistically” and “in its entirety” and ask

   “whether all of the facts alleged, taken collectively, give rise to a strong inference of scienter, not

   whether any individual allegation, scrutinized in isolation, meets that standard.” Tellabs, Inc. v.

   Makor Issues & Rights, Ltd., 551 U.S. 308, 323-24 (2007). The Court “must take into account

   plausible opposing inferences,” including “plausible, nonculpable explanations” for the KPMG’s

   conduct. Id. The inference of scienter “must be more than merely ‘reasonable’ or ‘permissible’—

   it must be cogent and compelling, thus strong in light of other explanations,” and the complaint

   may survive “only if a reasonable person would deem the inference of scienter cogent and at

   least as compelling as any opposing inference one could draw from the facts alleged.” Id. at 324.

          The standard is “especially stringent when the claim is brought against an outside

   auditor.” Louisiana Sch. Emps.’ Ret. Sys. v. Ernst & Young, LLP, 622 F.3d 471, 481 (6th Cir.

   2010). “Specifically, ‘[r]ecklessness on the part of an independent auditor entails a mental state

   so culpable that it ‘approximate[s] an actual intent to aid in the fraud being perpetrated by the

   audited company.’” PR Diamonds, Inc. v. Chandler, 364 F.3d 671, 693 (6th Cir. 2004) (citation




                                       8
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   omitted). To satisfy the test, plaintiffs must show “that the accounting practices were so deficient

   that the audit amounted to no audit at all, or an egregious refusal to see the obvious, or to

   investigate the doubtful, or that the accounting judgments which were made were such that no

   reasonable accountant would have made the same decisions if confronted with the same facts.”

   Id. at 693-94 (citation omitted).

          Under this standard, Plaintiffs’ conclusory assertions that KPMG acted “knowingly or

   recklessly” (SAC ¶¶ 75, 176, 258-259, 264, 266) and that its audits “amounted to essentially no

   audits at all” (SAC ¶ 2) are insufficient as a matter of law. The PSLRA requires particularized

   factual allegations that give rise to a strong inference of scienter. Parroting the legal standard and

   alleging that KPMG violated it are not enough. See, e.g., In re Comshare, Inc. Sec. Litig., 183

   F.3d 542, 553 (6th Cir. 1999).7

          Plaintiffs’ lengthy allegations that KPMG violated professional standards (SAC ¶¶ 76-

   157, 265, 267-268) are likewise inadequate as a matter of law. Louisiana Sch. Emps.’ Ret. Sys.

   622 F.3d at 481-82 (“failure to follow Generally Accepted Accounting Principles is, by itself,

   insufficient to establish scienter,” and “[m]ere allegations that an accountant negligently failed to

   closely review files or follow Generally Accepted Auditing Standards cannot raise a strong

   inference of scienter.”); Fidel v. Farley, 392 F.3d 220, 230 (6th Cir. 2004) (“failure to follow

   generally accepted accounting procedures does not in and of itself lead to an inference of

   scienter”) (overruled on other grounds).




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            Plaintiffs must also satisfy the particularity requirements of Fed. R. Civ. P. 9(b). Even
   under Rule 8, plaintiffs must plead facts that “raise a right to relief above the speculative level”
   with “more than labels and conclusions, and a formulaic recitation of the elements of a clause of
   action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).



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          Plaintiffs try to bolster their conclusory assertion that KPMG acted with scienter with a

   series of shop-worn allegations that courts regularly reject as inadequate. For example, Plaintiffs

   allege that the Alaska Assets were “extremely material to the Company” (SAC ¶ 177), but the

   Sixth Circuit has held that such allegations do not contribute to an inference of scienter.

   Louisiana Sch. Emps.’ Ret. Sys., 622 F.3d at 484 (“We have addressed similar allegations of

   scienter based on the magnitude of fraud with respect to an outside auditor. ‘We decline to

   follow the cases that hold that the magnitude of the financial fraud contributes to an inference of

   scienter on the part of the defendant.’”). “Allowing such an inference would eviscerate the

   principle that accounting errors alone cannot support a finding of scienter.” Id. (citing

   Stambaugh v. Corrpro Cos., 116 Fed. Appx. 592, 597 (6th Cir. 2004), which “declin[ed] to find

   a strong inference of scienter where . . . plaintiff referenced the magnitude of the fraud and the

   fact that the fraud involved a material component of the defendant’s business”).

          Plaintiffs allege that KPMG had “unfettered access to data” and Company records (SAC

   ¶ 178), but “[g]eneral allegations regarding an auditor’s access to information do not raise an

   inference of fraud.” Louisiana Sch. Emps.’ Ret. Sys., 622 F.3d at 481; In re aaiPharma Inc. Sec.

   Litig., 521 F. Supp. 2d 507, 513–14 (E.D.N.C. 2007) (“[M]erely because a person has broad

   access to every book in a library does not mean that the person has read and chosen to ignore

   facts contained in a particular book in the library. Merely alleging that [the auditor] had broad

   access to [company] operations at best supports an inference that [the auditor] was negligent, and

   more likely supports nothing at all.”).

          Plaintiffs allege that an article posted online in TheStreetSweeper put KPMG on notice

   that the Alaska Assets might have been overvalued (SAC ¶ 179), but that article was published in

   July 2011 and was available to Plaintiffs and any investors considering purchasing Miller




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   Energy’s securities (Ex. 18 (published on July 28, 2011)). Indeed, Miller Energy’s response was

   filed publicly with the SEC, bringing the article and the Company’s views regarding its content

   to the attention of investors. (Ex. 21.) Such publicly available information cannot form the basis

   for an inference of scienter. See, e.g., In re Longtop Fin. Tech. Ltd. Sec. Litig., 910 F. Supp. 2d

   561, 576-77 (S.D.N.Y. 2012); Special Situations Fund III QP, L.P. v. Deloitte Touche Tohmatsu

   CPA, Ltd., 33 F. Supp. 3d 401, 431 (S.D.N.Y. 2014).

           Plaintiffs allege that KPMG earned fees for its audit work (which fees were publicly

   disclosed) and had a motive to continue to earn fees. (SAC ¶¶ 180.) Allegations of motive and an

   opportunity to commit fraud, however, are not adequate. See In re Comshare, Inc., 183 F.3d at

   551 (“under a plain interpretation of the PSLRA as informed by well-settled law on the contours

   of the ‘scienter’ requirement, we hold that plaintiffs may meet PSLRA pleading requirements by

   alleging facts that give rise to a strong inference of reckless behavior but not by alleging facts

   that illustrate nothing more than a defendant’s motive and opportunity to commit fraud”). As the

   Sixth Circuit has explained, “allegations that the auditor earned and wished to continue earning

   fees from a client do not raise an inference that the auditor acted with the requisite scienter.”

   Fidel, 392 F.3d at 232. “Even a specific account that was one of the auditor’s most lucrative

   would not imply scienter on the part of an auditor.” Louisiana Sch. Emps.’ Ret. Sys., 622 F.3d at

   484.8



           8
              See also Zucker v. Sasaki, 963 F. Supp. 301, 308 (S.D.N.Y. 1997) (it is “economically
   irrational” for an auditor to condone a client’s fraud “at the risk of jeopardizing its reputation and
   license as well as the possibility of damages in an amount much greater than its fee”); SEC v.
   Pricewaterhouse, 797 F. Supp. 1217, 1242 (S.D.N.Y. 1992) (“It is highly improbable that an
   accountant would risk surrendering a valuable reputation for honesty and careful work by
   participating in a fraud merely to obtain increased fees”); Reiger v. PricewaterhouseCoopers
   LLP, 117 F. Supp. 2d 1003, 1007 (S.D. Cal. 2000) (because “a large independent accountant will
   rarely, if ever, have any rational economic incentive to participate in its client’s fraud,” scienter



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          Finally, Plaintiffs allege, incorrectly, that there were “red flags.” (SAC ¶ 181.) The

   alleged “red flags” were not indicative of fraud and so were not red flags under the case law. See

   Fidel, 392 F.3d at 229. What Plaintiffs incorrectly call “red flags” were circumstances disclosed

   in public SEC filings or otherwise part of the public record at the time. See In re Longtop Fin.

   Tech., 910 F. Supp. 2d at 576-77 (matters that are publicly disclosed are not red flags and do not

   give rise to an inference of scienter; “neither the SEC nor the investing public recognized

   Longtop’s alleged fraud,” which “raises the inference that these purported red flags are in fact

   red herrings”); Special Situations Fund III QP, L.P. v. Deloitte Touche Tohmatsu CPA, Ltd., 33

   F. Supp. 3d 401, 431 (S.D.N.Y. 2014) (“red flags embedded in publicly available documents do

   not support an inference of scienter”). Below is a list of Plaintiffs’ purported “red flags,” along

   with dates of the public SEC filings and other documents disclosing those matters long ago:

                                                         Ex. 19 (Form 10-K/A- Amendment No. 1,
                                                         filed Aug. 9, 2011) at Explanatory Note
          “The Company filed the July 29, 2011
                                                         (disclosing that Miller Energy had filed its
          Form 10-K on July 29, 2011 without
                                                         Form 10-K on July 29, 2011 before
          KPMG’s consent.” (SAC ¶ 181(a).)
                                                         KPMG had completed its audit work and
                                                         provided its consent).
          “[T]he Company had a history of ‘going         All audit opinions issued prior to Miller
          concern’ qualified audit opinions prior to     Energy’s acquisition of the Alaska Assets
          its acquisition of the Alaska Assets. (SAC     were publicly filed contemporaneously.
          ¶ 181(b).)                                     (See, e.g., Ex. 17.)
          “KPMG was brought in to become the
          Company’s auditor on February 1, 2011,
                                                         KPMG’s appointment was publicly
          toward the end of the Company’s fiscal
                                                         disclosed immediately (Ex. 58) and the
          year, which was April 30, 2011, despite
                                                         proxy recommending Sherb’s
          the fact that the proxy dated January 28,
                                                         reappointment was also publicly filed.
          2011, stated that Sherb was being
                                                         (Ex. 59.)
          recommended for re-appointment.” (SAC
          ¶ 181(c).)




   allegations must “overcome the irrational inference that the accountant would risk its
   professional reputation to participate in the fraud of a single client”).



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          “Miller Energy revealed on March 18,
          2011 that it had to file that Form 10-Q
                                                           The disclosure containing the alleged
          late, and that it had failed to property [sic]
                                                           revelations was publicly filed on March
          record depreciation, depletion and
                                                           20, 2011 (Ex. 57), and the Form 10-Q was
          amortizations (‘DD&A’) and other items
                                                           publicly filed on March 20, 2011 (Ex. 57).
          relating to the Alaska Assets.” (SAC
          ¶ 181(d).)
                                                           Mr. Boruff’s purchase of the home was
          Scott Boruff bought an expensive home,           publicly reported at the time (Ex. 20
          and his salary was only $500,000. (SAC           (press report published on June 9, 2011)),
          ¶ 181(e).)                                       and his salary was publicly disclosed
                                                           annually (see, e.g., Ex. 9 at 51).
                                                           See, e.g., Ex. 1 (filed July 28, 2010) at 33-
          The Company had high borrowing costs.
                                                           37 (describing loan and financing
          (SAC ¶ 181(f).)
                                                           arrangements).
                                                           The Company’s financial statements
                                                           disclosed its cash position periodically as
                                                           required. (See, e.g., Ex. 11 (filed July 15,
          The Company had cash flow problems               2013) at 42.) While Plaintiffs allege that
          and paid bills late. (SAC ¶ 181(g).)             the Company overvalued the Alaska
                                                           Assets, Plaintiffs have not alleged that the
                                                           Company’s publicly reported cash flow
                                                           was misstated in any way.
                                                           Mr. Miller’s role in founding the
          The Company’s founder, Deloy Miller,
                                                           Company was publicly disclosed. (See,
          treated the Company like a family
                                                           e.g., Ex. 1 (filed July 28, 2010) at 43.) The
          business, instead of a public company.
                                                           fact that Mr. Boruff was his son in law
          (SAC ¶ 181(h).)
                                                           was publicly disclosed. (Id.)9

          Therefore, giving Plaintiffs credit for the allegations that they claim bear on KPMG’s

   state of mind, and even without considering (as is required) opposing nonculpable explanations,

   there is no basis for drawing any inference of scienter, much less a “strong” one.



          9
            The only other alleged “red flag” is that KPMG personnel “witnessed enormous
   dysfunction within Miller Energy, including two members of the accounting staff getting
   intoxicated in the office, becoming angry and disorderly, and loudly complaining about their
   compensation.” (SAC ¶ 181(i).) Nothing in these allegations bears on the contention that the
   Company overvalued the Alaska Assets and committed a fraud. Aside from the description of
   two individuals as intoxicated and emotional, the only allegation as to the content of their
   remarks is that they complained about their compensation. Complaints about compensation are
   ubiquitous across all manner of companies and institutions and are in no way indicative of fraud.



                                      13
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          When the competing inferences that naturally flow from the allegations of the SAC are

   added to the mix, the conclusion is all the more clear—there is no strong inference that KPMG

   acted with the required state of mind. For example, the acquisition of the Alaska Assets took

   place in December 2009, and the Company’s independent auditor at the time was Sherb & Co.,

   not KPMG. (SAC ¶¶ 27, 46.) KPMG was not retained until over a year later, in February 2011.

   (SAC ¶ 62-63.) By the time KPMG was retained, the Company had already decided how the

   Alaska Assets were to be treated on its financial statements, and the Company’s independent

   auditor at the time, Sherb & Co., had already audited those financial statements and issued its

   audit report on those statements. (Ex. 1 at F-2.) Thus, when KPMG came onto the engagement in

   February 2011, the purchase of the Alaska Assets had already been accomplished and accounted

   for in the Company’s reported financial results, and another year had passed. Nothing in these

   circumstances suggests that KPMG was on notice of any glaring deficiency in the Company’s

   prior financial results or its accounting practices; these circumstances militate against any

   inference that KPMG knew of some on-going fraud at the Company and decided to join it.

          As noted (supra at 11-12 & n.8), courts recognize that it would be “economically

   irrational” for auditors to participate in a client’s fraud, which means plaintiffs must overcome

   the irrational inference that the auditor would risk its professional reputation to do so. Here the

   economic irrationality is even more pronounced, given that according to Plaintiffs’ allegations,

   the Company embarked upon its fraud long before KPMG was retained; KPMG had even less of

   an incentive to join in a pre-existing alleged fraud. Yet, this implausible scenario—KPMG is

   retained as the new auditor and immediately joins an ongoing fraud—is exactly what Plaintiffs

   allege. (SAC ¶ 154 (“From virtually the moment KPMG was retained by Miller Energy, KPMG

   began knowingly or recklessly violating numerous of these standards”).) Having had no prior




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   involvement with Miller Energy, and having not had any role in the acquisition of the Alaska

   Assets or the prior accounting treatment of them, there would be no reason for KPMG to take on

   a new engagement and join in an on-going fraud. The most natural inference to draw from these

   circumstances is that KPMG did not learn of, or intend to join, the Company’s alleged fraud.10

          The fact that the SEC made several inquiries regarding the Company’s treatment of the

   Alaska Assets from April through June 2011 and, after receiving responses and supporting

   materials from the Company, decided to close its inquiry on July 20, 2012—without making

   additional comments, demanding revisions to the Company’s financial reports, or taking any

   further action (SAC ¶ 66; see Exs. 2-8)—supports an inference that there was no obvious fraud

   and that KPMG did not intentionally or recklessly join it.

          Another fact that counters an inference of scienter is that Sherb & Co. issued an

   unqualified opinion on the financial statements for 2010. (Ex. 1 at F-2.) As Miller Energy had

   acquired the Alaska Assets in December 2009, they were accounted for in the financial

   statements for Fiscal 2010. As noted above, to support an inference of scienter, plaintiffs must

   allege accounting practices so deficient that “no reasonable accountant” would have made the

   same decisions in the same circumstances. PR Diamonds, Inc., 364 F.3d at 693-94. The fact that

   two separate independent audit firms (Sherb & Co. and KPMG) audited the Company’s financial

   statements after it acquired the Alaska Assets and found no material misstatement regarding the

   valuation of those assets shows that Plaintiffs cannot meet their burden.

          Another fact previously admitted by Plaintiffs that supports an inference that KPMG

   acted without fraudulent intent is that in the first year of its engagement KPMG reviewed Miller

          10
             That KPMG is a Big Four accounting firm that provides services to 76% of the top 50
   oil and gas companies (SAC ¶ 17 & n.3) also supports an inference of an innocent state of mind,
   as KPMG had no incentive to join a fraud to add a small oil and gas company to its client list.



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   Energy’s prior financial statements, found errors, and “required Miller Energy to re-state and

   correct the previously-issued quarterly reports and filings with the SEC.” (FAC ¶ 74.) Again, it

   would make no sense for KPMG, if it was intent on joining a pre-existing and ongoing fraud, to

   require the Company to restate prior financial results. Such actions are simply inconsistent with

   Plaintiffs’ theory that KPMG eagerly joined in Miller Energy’s fraud.

          Another exculpatory fact admitted by Plaintiffs is that KPMG issued adverse opinions on

   the Company’s internal controls, finding and reporting publicly that Miller Energy “has not

   maintained effective internal control over financial reporting.” (SAC ¶¶ 91, 93, 96, 184, 186,

   188; Ex. 10 at 45 & F-1; Ex. 11 at 16, 49-50, F-1; Ex. 12 at 19, 59-60, F-2.) Again, if KPMG

   was participating in the Company’s fraud, it would make no sense to issue adverse opinions

   reporting that there were material weaknesses in the Company’s internal controls. That KPMG

   did so supports an inference that KPMG was acting in good faith and not attempting to mislead

   investors. It severely undermines any inference of fraudulent intent. See Buttonwood Tree Value

   Partners, LP v. Sweeney, 910 F. Supp. 2d 1199, 1207 (C.D. Cal. 2012) (auditor’s identification

   of material weakness in audit client’s internal controls is “inconsistent with Plaintiffs’ allegation

   that [the auditor] pandered to [the audit client’s] management”).

          In short, Plaintiffs have not pleaded facts giving rise to a strong inference of scienter, and

   so the Section 10(b) claims (Counts One and Two) must be dismissed.

          B.      Plaintiffs fail to plead loss causation

          Loss causation—“a causal connection between the material misrepresentation and the

   loss”—is a necessary element of a Section 10(b) claim. Dura Pharmaceuticals, Inc. v. Brouda,

   544 U.S. 336, 342 (2005). Allegations that Plaintiffs purchased at inflated prices are not enough.

   Id. at 347. “When the purchaser subsequently resells such shares, even at a lower price, that




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   lower price may reflect, not the earlier misrepresentation, but changed economic circumstances,

   changed investor expectations, new industry specific or firm-specific facts, conditions, or other

   events, which taken separately or together account for some or all of that lower price.” Id. at 342-

   43. Rather, Plaintiffs must show “that the defendant’s misrepresentation (or other fraudulent

   conduct) proximately caused the plaintiff’s economic loss.” Id. at 346. They must plead not only

   that they suffered an economic loss, but also a “causal connection” between the defendant’s

   misrepresentation and that loss. Id. at 347.

          Plaintiffs allege that they purchased at artificially inflated prices and that they suffered

   economic losses as the share price declined when certain information made its way into the

   market (SAC ¶¶ 197-237), but Plaintiffs plead no causal connection between KPMG’s alleged

   misrepresentations (its audit reports) or KPMG’s other conduct and those economic losses.

          For example, in paragraph 199, Plaintiffs allege that on December 17, 2013, a group of

   concerned shareholders sent an open letter to the Company “decrying, among other things,

   management’s lack of expertise with respect to the Alaska Assets,” which caused the Company’s

   stock price to decline from $8.60 to $7.07. (SAC ¶ 199.) But this was nothing new. By Plaintiffs’

   own admission, shareholders had been criticizing management’s handling of the Alaska Assets

   for years; shareholder filed multiple lawsuit against the Company’s management in 2011 based

   on management’s handling of the Alaska Assets. (SAC ¶ 147.) Moreover, nothing in this

   allegation reveals any causal connection between the alleged misrepresentations or other conduct

   of KPMG and Plaintiffs’ loss. By their own admission, the disclosure at issue in paragraph 199

   relates to Miller Energy’s management, not KPMG or its audit reports or other conduct.11



          11
            In the prior securities litigation, this Court held that the plaintiffs had adequately
   pleaded a causation connection between Miller Energy’s and its management’s



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          In multiple other instances through March 2016, Plaintiffs allege that information relating

   to the Alaska Assets was revealed to the markets, causing the stock price to decline, ultimately to

   $0 on or around March 29, 2016 (SAC ¶¶ 200-236), but in each instance Plaintiffs plead no

   causal connection between KPMG’s audit reports or other conduct and the price decline or any

   resulting economic loss. Plaintiffs allege that the SEC announced its settlement with KPMG on

   August 16, 2017 (SAC ¶ 238), but as Plaintiffs admit, the Company’s stock price had already

   declined to zero by March 2016 (SAC ¶ 236), and so Plaintiffs had already incurred their losses.

          In Gaynor, this Court rejected an argument for dismissal based on loss causation, but that

   case was different. 2017 U.S. Dist. LEXIS 130107, at *42. The claim in Gaynor was a Section

   11 claim, as to which loss causation is an affirmative defense. Id. at *36-38. Here, KPMG moves

   to dismiss a Section 10(b) fraud claim, as to which loss causation is an essential element that

   must be pleaded with particularity, and Plaintiffs have not pleaded facts supporting the claim that

   the price declined in response to the disclosure of any new information relating to KPMG.

          C.      The Section 10(b) claims are barred by the two-year statute of limitations

          The Section 10(b) claims against KPMG (Counts One and Two)12 are time-barred under

   28 U.S.C. § 1658(b), as Plaintiffs filed the Original Complaint on March 14, 2016, more than

   two years after a reasonably diligent investigation would have revealed the facts allegedly

   constituting a violation under Section 10(b).



   misrepresentations and the economic losses that followed from stock price declines. In re Miller
   Sec. Litig., 2014 WL 415730, at *23. Indeed, the allegations in that case, and in the present case,
   appear to be directed at establishing a causal connection between Miller Energy’s alleged
   misrepresentations about the value of the Alaska Assets and the alleged economic losses, not a
   causal connection between KPMG’s audit reports (or other conduct) and such losses.
            12
               KPMG’s audit reports for 2011, 2012, and 2013 were issued more than two years
   before the filing of this action. The only audit report filed within the two-year period leading up
   to the filing of this action was the report for 2014, dated July 14, 2014. (Ex. 12 at 69.)



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          Under Section 1658(b), a plaintiff may bring a Section 10(b) claim no later than the

   earlier of two years after discovery of the facts constituting the violation or five years after the

   violation itself. In Merck & Co. v. Reynolds, 559 U.S. 633, 648 (2010), the Supreme Court held

   that the word “discovery” in this context “encompasses not only those facts the plaintiffs actually

   knew, but also those facts a reasonably diligent plaintiff would have known.” “In determining the

   time at which ‘discovery’ of those ‘facts’ occurred, terms such as ‘inquiry notice’ and ‘storm

   warnings’ may be useful to the extent that they identify a time when the facts would have

   prompted a reasonably diligent plaintiff to begin investigating. But the limitations period does

   not begin to run until the plaintiff thereafter discovers or a reasonably diligent plaintiff would

   have discovered ‘the facts constituting the violation,’ including scienter—irrespective of whether

   the actual plaintiff undertook a reasonably diligent investigation.” Id. at 653.

          The facts constituting the violation in the present case, including alleged facts on which

   Plaintiffs base their contention that KPMG acted with scienter, were known, or would have been

   discovered by a reasonably diligent plaintiff, before March 14, 2014, two years prior to the filing

   of the present action. The underlying alleged facts and circumstances that form the basis for

   Plaintiffs’ claims of securities fraud relating to Miller Energy’s valuation of and accounting for

   the Alaska Assets were publicly known many years ago, and indeed formed the basis for prior

   securities fraud lawsuits against Miller Energy and its chief executives that survived motions to

   dismiss years ago. The plaintiffs in those cases discovered facts they needed to file complaints

   (in 2011), and their claims against Miller Energy and most of the individual defendants survived

   motions to dismiss. Indeed, this Court’s decision denying most of the motions to dismiss is dated

   February 4, 2014, more than two years before Plaintiffs filed the present case.




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          The only conceivable argument Plaintiffs might advance is that the facts constituting

   scienter on the part of KPMG were not known or discoverable by a reasonably diligent plaintiff

   by February 14, 2014, but any such argument is contradicted by the very allegations advanced by

   Plaintiffs in the Complaint. Plaintiffs’ scienter allegations against KPMG are based on facts and

   circumstances that were publicly disclosed and a matter of public record before February 14,

   2014. The materiality of the Alaska Assets to Miller Energy (SAC ¶ 177) was disclosed, and

   obvious, from the outset (Ex. 1 at 20). That KPMG as the Company’s outside auditors had access

   to the Company’s data and records (SAC ¶¶ 178) was known at all times, as all auditors must

   have such access to perform audits. The article in TheStreetSweeper (SAC ¶ 179) was published

   in 2011 (Ex. 18), as was the Company’s public response (Ex. 21). The fees that KPMG earned

   (SAC ¶ 180) were a matter of public record, as audit fees were disclosed annually (SAC ¶ 21;

   Ex. 9 at 60; Ex. 10 at 47; Ex. 11 at 51; Ex. 12 at 62.) And, as detailed above, the purported “red

   flags” that are the centerpiece of Plaintiffs contention that KPMG acted with scienter were

   publicly disclosed before February 14, 2014. See supra at 12-13.

          D.      Count One fails to allege an actionable misstatement

          Plaintiffs’ “misstatement” claim under Section 10(b) (Count One) is also subject to

   dismissal because Plaintiffs have not alleged an actionable misstatement. An audit report is a

   statement of opinion13 that is false only if the speaker does not believe it.14 Yet, as discussed

   below (infra at II.C.), Plaintiffs have not pleaded that KPMG did not believe its audit opinions.



          13
              E.g. Ex. 9 at F-3 (“Our responsibility is to express an opinion . . . . We believe that our
   audits provide a reasonable basis for our opinion. In our opinion . . .”)
           14
              In re Longtop Fin. Tech., 910 F. Supp. 2d at 580 (“[T]o allege that an auditor opinion
   is a misrepresentation, a complaint must show that the statement in question is grounded on a
   specific factual premise that is false, and that the speaker did not ‘genuinely or reasonably
   believe’ it.”); see In re Miller Sec. Litig., 2014 WL 415730, at *15 (plaintiffs must plead



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           E.        Count Two fails to allege an actionable scheme

           Plaintiffs’ “scheme” liability claim (Count Two) is precluded by Stoneridge Investment

   Partners, LLC v. Scientific-Atlanta, Inc., 552 U.S. 148 (2008), which addressed “when, if ever,

   an injured investor may rely upon § 10(b) to recover from a party that neither makes a public

   misstatement nor violates a duty to disclose but does participate in a scheme to violate § 10(b).”

   Id. at 156. In Stoneridge, the Court affirmed the dismissal of a “scheme” liability claim,

   premised upon conduct rather than misstatements or omissions, because “respondents’ acts or

   statements were not relied upon by the investors and . . . as a result, liability cannot be imposed

   upon respondents.” Id. at 159.15 “Reliance by the plaintiff upon the defendant’s deceptive acts is

   an essential element of the §10(b) private cause of action.” Id. The Court explained that “[n]o

   member of the investing public had knowledge, either actual or presumed, of respondents’

   deceptive acts during the relevant times,” and ““[p]etitioner, as a result, cannot show reliance

   upon any of respondents’ actions except in an indirect chain that we find too remote for

   liability.” Id.

           Plaintiffs purport to assert a “scheme” liability claim based on allegedly deceptive

   conduct, rather than on alleged misstatements or omissions (SAC ¶¶ 275-278), but Plaintiffs



   “particular facts sufficient to demonstrate that the [defendants] did not believe those opinions at
   the time they were made”).
           15
              In Central Bank of Denver, N.A. v. First Interstate Bank of Denver, N.A., 511 U.S. 164,
   177 (1994), the Court “determined that §10(b) liability did not extend to aiders and abettors,” as
   the scope of liability under the rule is “delimited by the text” of the statute. Stoneridge, 552 U.S.
   at 157. In Stoneridge, the Supreme Court reiterated that Rule 10b-5 cannot be construed to
   impose liability beyond what Section 10(b), the authorizing statute, prohibits: “Rule 10b-5
   encompasses only conduct already prohibited by § 10(b).” Id. “In a typical § 10(b) private
   action,” the Court observed, “a plaintiff must prove (1) a material misrepresentation or omission
   by the defendant; (2) scienter; (3) a connection between the misrepresentation or omission and
   the purchase or sale of a security; (4) reliance upon the misrepresentation or omission; (5)
   economic loss; and (6) loss causation.” Id.



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   allege that they were unaware of this conduct: “During the Class Period, Plaintiffs and the

   Section 10(b) Class were unaware of KPMG’s conduct” (SAC ¶ 279). As in Stoneridge, no

   plaintiffs “had knowledge, either actual or presumed, of [KPMG’s allegedly] deceptive acts

   during the relevant times,” and Plaintiffs, “as a result, cannot show reliance upon any of

   [KPMG’s] actions except in an indirect chain” that is “too remote for liability.” Stoneridge, 552

   U.S. at 159.16

          The “scheme” claim fails for another reason as well: it is not truly based on “conduct”

   unrelated to alleged misstatements or omissions, but is rather a classic example of attempting to

   impose liability on a defendant who had some role in contributing to or preparing a public

   statement, but was not the one who actually was the “maker” of the statement. Janus Capital

   Group, Inc. v. First Derivative Traders, 564 U.S. 135, 142-43 (2011). Plaintiffs allege that

   KPMG “performed bookkeeping, appraisal, and valuations to justify the valuation assigned by

   Boruff and Miller Energy to the Alaska Assets.” (SAC ¶ 278.) But, as Plaintiffs allege, the

   valuation of the Alaska Assets was contained in the Company’s public SEC filings. With their

   “scheme” allegations, Plaintiffs are essentially alleging that KPMG has some behind-the-scenes

   role in generating, preparing, or drafting valuations that made their way into the Company’s

   allegedly misleading public filings. That is what the Supreme Court rejected in Janus. Janus, 564

   U.S. at 142-43; In re Miller Sec. Litig., 2014 WL 415730, at *9.17



          16
              Plaintiffs cannot take advantage of any presumption of reliance that might apply for
   omissions claims (SAC ¶ 252) given that the claim is based on an alleged “scheme” and
   disavows reliance on alleged misstatements or omissions (SAC ¶ 275). Such presumptions may
   be available only where “there is an omission of a material fact by one with a duty to disclose” or
   under the fraud-on-the-market doctrine “when the statements at issue become public.”
   Stoneridge, 552 U.S. at 159.
           17
              Plaintiffs also allege that KPMG helped defend the Company’s valuation of the Alaska
   Assets to the SEC (SAC ¶ 278), conduct that similarly cannot be linked to public investors



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   II.    The Section 11 claim must be dismissed

          The Section 11 claim—Count Three—asserted by the new plaintiff, Martin Weakley, on

   behalf of all those who purchased “Miller Energy preferred shares pursuant to or traceable to the

   Offering Documents” is also subject to dismissal for several reasons. (SAC ¶ 33).

          A.      Mr. Weakley was not appointed lead plaintiff for preferred stock purchasers

          Mr. Weakley and his counsel are not authorized to serve as lead plaintiff and lead

   plaintiff’s counsel in bringing the Section 11 claim on behalf of a proposed class of purchasers of

   the preferred stock of Miller Energy.18 The federal securities laws contain procedures governing

   the appointment of lead plaintiffs in class action securities cases. See 115 U.S.C.A. § 78u-4

   (West); 15 U.S.C.A. § 77z-1 (West). Mr. Weakley and his counsel did not apply for appointment

   as lead plaintiff and lead plaintiffs’ counsel, or comply with any of the statutory requirements for

   doing so. Other plaintiffs complied with the statutory requirements and have been appointed to

   serve in that capacity, and Plaintiffs here did not object to their appointment.

          Mr. Cosby and Mr. Martin filed a motion for appointment as co-lead plaintiffs to

   represent purchasers of the common stock of Miller Energy under the Exchange Act. (Ex. 48.)

   They made a public announcement as required, indicating that they were seeking to represent



   except through the affirmative statements made by Miller Energy in its SEC filings. The third
   type of conduct Plaintiffs allege is “meeting with investors in order to enhance Miller Energy’s
   credibility.” (SAC ¶ 278.) That conduct is on its face not deceptive; the mere attendance of a
   person at a meeting, devoid of any allegation about what any person said at the meeting, cannot
   be deemed deceptive. Allowing a claim to proceed under that theory would be at odds with
   Supreme Court precedent, including Janus, as well as the PSLRA and Rule 9(b).
           18
              See, e.g., In re Facebook, Inc., IPO Sec. & Derivative Litig., MDL No. 12–2389, 2013
   WL 4399215, at *3 (S.D.N.Y. Aug. 13, 2013) (appointed lead plaintiff “has the sole authority to
   determine what claims to pursue on behalf of the class”); In re Bank of Am. Corp. Sec.,
   Derivative, & Emp. Ret. Income Sec. Act (ERISA) Litig., No. 10 Civ. 275 (PKC), 2011 WL
   4538428, at (S.D.N.Y. Sept. 29, 2011) (new plaintiff had no authority to bring class claims on
   behalf of option holders even where lead plaintiff lacked standing to bring such claims).



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   purchaser of the common stock. (Ex. 49.) They filed motion papers seeking to show that they are

   the most adequate plaintiffs to represent purchasers of the common stock. (Ex. 50.) They

   selected counsel for the proposed class. (Ex. 48-50.) This Court granted the motion of Mr. Cosby

   and Mr. Martin to be appointed lead plaintiffs for the common stock purchasers and ratified their

   selection of counsel. (Ex. 51.) Neither Mr. Cosby and Mr. Martin, nor the new plaintiff here,

   Mr. Weakley, sought appointment as lead plaintiffs for purchasers of the preferred stock of

   Miller Energy or appointment of lead counsel for such purchasers.

          In a different case pending before this Court, another group of plaintiffs—Kenneth

   Gaynor, Marcia Goldberg, Gabriel R. Hull, and Christopher R. Vorrath (the “Gaynor

   Plaintiffs”)—filed a motion for appointment as lead plaintiffs to represent purchasers of the

   preferred stock of Miller Energy. (Ex. 52.) They filed motion papers to show that they are the

   most adequate plaintiffs to represent purchasers of the preferred stock. (Ex. 52-53.) They also

   selected counsel for the proposed class. (Ex. 53.) This Court granted the Gaynor Plaintiffs’

   motion and appointed the Gaynor Plaintiffs lead plaintiffs for the preferred stock purchasers and

   appointed their chosen counsel as lead and local counsel for those purchasers. (Ex. 54.) Neither

   Mr. Cosby and Mr. Martin, nor Mr. Weakley, objected to the Gaynor Plaintiffs’ motion for

   appointment as lead plaintiffs for preferred stock purchasers. This Court noted that those who did

   not object waived any right to do so. (Ex. 54, at 1 (“No party has responded in opposition to the

   Motion, and the time for doing so has expired. See L.R. 7.2 (‘Failure to respond to a motion may

   be deemed a waiver of any opposition to the relief sought.’).”). Accordingly, Mr. Weakley’s

   claim is inappropriate here and should be dismissed.




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          B.      The Section 11 claim is time-barred

          Even if Mr. Weakley were permitted to assert it, the Section 11 claim is barred by both

   the three-year statute of repose as well as the one-year statute of limitations.

                  1.      The claim does not relate back to the date of the Original Complaint

          For limitations purposes, the Section 11 claim in the SAC was brought on September 15,

   2017 (the date of the SAC), not March 14, 2016 (the date of the Original Complaint). The claim

   does not “relate back” under Rule 15(c) of the Federal Rules of Civil Procedure.

          Rule 15(c)(1)(B), which permits relation back when the amendment asserts “a claim or

   defense” that “arose out of the conduct, transaction, or occurrence set out” in the original

   pleading, is inapplicable for two reasons. First, this subsection of Rule 15(c) “allows relation

   back of an amendment asserting a ‘claim or defense,’ but it does not authorize the relation back

   of an amendment adding a new party.” Asher v. Unarco Material Handling, Inc., 596 F.3d 313,

   318 (6th Cir. 2010) (“an amendment which adds a new party creates a new cause of action and

   there is no relation back to the original filing for purposes of limitations”) (internal citations and

   quotation marks omitted). Mr. Weakley asserts a new cause of action on behalf of a newly

   proposed class of preferred stock purchasers. Neither the Original Complaint nor the FAC

   asserted a claim on behalf of Mr. Weakley or any preferred stock purchaser.19

          Second, relation back under Rule 15(c)(1)(B) is unavailable because the Section 11 claim

   in the SAC does not arise out of the same “conduct, transaction, or occurrence” set out in the

   Original Complaint. Section 11 creates liability for misstatements in securities offering materials.

   The SAC asserts a Section 11 claim on behalf of purchasers of the preferred stock of Miller

          19
             The Original Complaint asserted a Section 11 claim only on behalf of certain people
   who purchased common stock, a different security (Original Complaint ¶ 123), and the FAC
   asserted only Section 10(b) claims only on behalf of common stock purchasers.



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   Energy in five offerings—the May 7, 2013 Preferred Stock Offering, the June 27, 2013 Preferred

   Stock Offering, the September 25, 2013 Preferred Stock Offering, the October 17, 2013

   Preferred Stock Offering, and the August 20, 2014 Preferred Stock Offering. (SAC ¶¶ 287-292,

   317.) The Original Complaint did not assert a claim based on any of these preferred stock

   offerings. In fact, a Section 11 claim in an amended complaint based on one offering of a

   company’s securities does not relate back even when the prior complaint asserted a Section 11

   claim based on the same securities if they were sold in a different offering. In re Worldcom Secs.

   Litig., 2004 U.S. Dist. LEXIS 32716, *36-*37 (S.D.N.Y Jan. 20, 2004) (Section 11 claims based

   on a 2000 bond offering do not relate back to claims in prior complaint based on a 2001 bond

   offering); In re Xchange Inc., 2002 U.S. Dist. LEXIS 15909, at *12-13 (D. Mass. Aug. 26, 2002)

   (Section 11 claims based on a December 1998 initial public offering and a June 1999 second

   offering did not relate back to original complaint that “made no reference to” and had no

   allegations about those offerings); compare with Newby v. Enron Corp., 2005 U.S. Dist. LEXIS

   34021, at *13-14 (S.D. Tex. June 21, 2005) (claim in amended complaint related back to original

   complaint where both complaints asserted claims arising out of the same notes offering).

          Rule 15(c)(1)(C), which permits relation back when the amendment changes “the name

   of the party or the party against whom a claim is asserted,” is also inapplicable. As the Sixth

   Circuit has explained, this subsection of Rule 15(c) is limited “by its plain language, to change to

   defendants.” Asher, 596 F.3d at 318 (emphasis in original). While some courts have extended

   this subsection to amendments changing the identities of plaintiffs, these types of changes have

   been “limited to corrections of misnomers or misdescriptions,” and the Sixth Circuit has

   expressly declined to “legislatively craft a new rule of civil procedure” to allow for relation back

   of an amendment adding a new plaintiff. Id. at 319-20.




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                  2.      The claim is barred by the three-year statute of repose

          The Section 11 claim in the SAC is barred by the three-year statute of repose in Section

   13 of the Securities Act, which provides that “[i]n no event shall any such action be brought to

   enforce a liability created under Section 11 . . . more than three years after the security was bona

   fide offered to the public.” 15 U.S.C. § 77m (2006). As discussed above, the date the Section 11

   claim in the SAC was first brought for limitations purposes was September 15, 2017, the date of

   the SAC. As explained below, the preferred stock sold pursuant to each of the prospectus

   supplements at issue was bona fide offered more than three years prior to September 15, 2017.

          As this Court observed in the case brought by the Gaynor Plaintiffs in connection with

   the same offerings of preferred stock at issue here, when a company employs a shelf-registration

   process, securities are generally “bona fide offered” to the public “on the date the SEC declares

   the registration statement effective, rather than when the supplemental prospectus is filed.”

   Gaynor, 2017 U.S. Dist. LEXIS 130107, at *25 (internal citation and quotation marks omitted).

   Under SEC rules, the “offering” date for statute of limitations purposes is now: “(i) the date of

   the prospectus supplement for issuers and underwriters, and (ii) the date of the registration

   statement for directors and signing officers.” Id. at *26. As for signing officers and directors, an

   exception exists “by which a new bona fide offering date may apply . . . if the prospectus

   encompasses a ‘fundamental change in the information set forth in the registration statement.’”

   Id. at *26-27 (citation omitted).

          The same SEC rules that this Court addressed in Gaynor regarding the offering date for

   Section 11 claims against issuers and officers and directors also contain provisions regarding the

   offering date for purposes of Section 11 claims against accountants such as KPMG who have

   consented to the inclusion of their audit reports in company filings. Specifically, the SEC rules




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   provide that the date on which securities are bona fide offered to the public for purposes of a

   Section 11 claim against an accounting firm is the date that the original registration statement

   was declared effective, not the date of the prospectus supplement. 17 C.F.R. § 230.430B(f)(5)(i).

          The date on which the registration statement was declared effective (and the date the

   preferred shares were bona fide offered for purposes of a claim against KPMG) was September

   18, 2012 (SAC ¶ 189)—more than three years prior to the September 15, 2017 filing of the SAC.

   Under 15 U.S.C. § 77m, therefore, the Section 11 claim is barred by the statute of repose.

          The rule contains an exception for a prospectus supplement that “contains new audited

   financial statements or other financial information as to which the accountant is an expert and for

   which a new consent is required pursuant to section 7 of the Securities Act,” 17 C.F.R.

   § 230.430B(f)(5)(i), but the exception does not help Plaintiffs. Plaintiffs acknowledge that the

   May 7, 2013 and June 27, 2013 prospectus supplements did not incorporate new audited

   financial statements beyond those incorporated into the Registration Statement (SAC ¶ 189).

   Plaintiffs allege that the September 25, 2013 and October 17, 2013 prospectus supplements

   incorporated new audited financial statements (the financial statements for Fiscal 2013 and

   KPMG’s audit report dated July 15, 2013), and that the August 20, 2014 prospectus supplement

   incorporated new audited financial statements (the financial statements for Fiscal 2014 and

   KPMG’s audit report dated July 15, 2014). (SAC ¶ 189.) But the dates of those prospectus

   supplements are still more than three years prior to the date of the SAC (September 15, 2017).

          Thus, the Section 11 claim is barred in its entirety because the preferred shares at issue

   were bona fide offered more than three years prior to the September 15, 2017 date of the SAC.




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                   3.      The claim is barred by the one-year statute of limitations

           The statute of limitations barring claims not brought “within one year after the discovery

   of the untrue statement or the omission, or after such discovery should have been made by the

   exercise of reasonable diligence” 15 U.S.C. § 77m (2006), also dooms the Section 11 claim here.

           The statute commences when the plaintiff had “either actual notice or inquiry notice.”

   Gaynor, 2017 U.S. Dist. LEXIS 130107, at *32. Inquiry notice means the plaintiff has

   knowledge of facts “that would lead a reasonable person to begin investigating the possibility

   that his legal rights had been infringed.” Id. (internal citation and quotation marks omitted). The

   plaintiff “need not have fully discovered the nature and extent of the fraud before he was on

   notice that something may have been amiss;” rather, inquiry notice “is triggered by evidence of

   the possibility of fraud, not full exposition of the scam itself.” Id. at *32-33 (internal citations

   and quotation marks omitted). Storm warnings or suspicious facts are not adequate to commence

   the statute, but they “trigger a duty to investigate, and the limitations period begins to run only

   when a reasonably diligent investigation would have discovered the fraud.” Id. at *33 (internal

   citation and quotation marks omitted).

           The allegations in the SAC demonstrate that Plaintiffs had actual notice, or at least

   inquiry notice, more than one year prior to September 15, 2017. All of the following events

   allegedly occurred more than one year prior to September 15, 2017:

           December 2013           “The Miller Energy house of cards finally began to collapse in
                                   December 2013, when it started to become clear that the Alaska
                                   Assets were worth nowhere near what KPMG and Miller Energy
                                   said they were.” (SAC ¶ 4.)

           December 2013           “Beginning in December 2013, and through the time it filed for
                                   bankruptcy [October 1, 2015], the truth that Miller Energy was a
                                   fraud, and the risks concealed by that fraud, including by KPMG’s
                                   participation in it, leaked out, were revealed, and materialized.”
                                   (SAC ¶ 198.)



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         December 17, 2013   “On December 17, 2013, a group of shareholders calling
                             themselves ‘Concerned Miller Shareholders’ sent an open letter
                             decrying, among other things, management’s lack of expertise with
                             respect to the Alaska Assets,” and on that date the price of the
                             preferred stock declined. (SAC ¶ 199.)

         December 24, 2013   “[O]n December 24, 2013, a report entitled “Miller Energy:
                             Digging Itself Into Another Deep Hole?” was published by
                             TheStreetSweeper,” and it quoted Robert Chapman describing the
                             Company as “a preferred-stock issuance machine that seems to be
                             more in the business of raising money than making money” and
                             that “it looks like a stock that’s driven by a myth.” (SAC ¶¶ 200-
                             204.) “On or around this day, and on this news, risks or truth
                             concealed by, or effects associated with, KPMG’s fraud were
                             partially revealed, leaked out, or materialized,” and the price of the
                             preferred stock declined. (SAC ¶ 205.)

         March 13, 2014      The Company announced losses, increased expenses, and negative
                             earnings per share and held an investor call during which “the
                             Company was repeatedly pressed by multiple analysts about the
                             costs and expenses associated with its operations.” (SAC ¶¶ 206-
                             207.) “On or around this day, and on this news, risks or truth
                             concealed by, or effects associated with, KPMG’s fraud were
                             partially revealed, leaked out, or materialized, and as a result” the
                             price of the preferred shares declined. (SAC ¶ 208.)

         July 15, 2014       The Company held an investor call to discuss results reported on
                             the prior day. “On and around this day, and on this news, risks or
                             truth concealed by, or effects associated with, KPMG’s fraud were
                             partially revealed, leaked out, or materialized, and as a result” the
                             price of the preferred shares declined. (SAC ¶¶ 210-213.)

         October 13, 2014    Brean Capital lowered its price target on the Company, and “[o]n
                             or around this day, and on this news, risks or truth concealed by, or
                             effects associated with, KPMG’s fraud were partially revealed,
                             leaked out, or materialized,” and the price of the preferred stock
                             declined. (SAC ¶ 214.)

         November 16, 2014   Miller Energy stock became the subject of margin calls, and “[o]n
                             and around this day, and on this news, risks or truth concealed by,
                             or effects associated with, KPMG’s fraud were partially revealed,
                             leaked out, or materialized, and as a result” the price of the
                             preferred shares declined. (SAC ¶ 215.)




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         November 28, 2014   Brean Capital cut its price target again, and “[o]n and around this
                             day, and on this news, risks or truth concealed by, or effects
                             associated with, KPMG’s fraud were partially revealed, leaked out,
                             or materialized.” (SAC ¶ 216.)

         December 2014       “Then, in December 2014, the Company disclosed it was taking a
                             $263.3 million impairment charge on the Alaska Assets, in part
                             because of issues relating to cost.” (SAC ¶ 4.)

         December 4, 2014    The Company “recognized a $265.3 million non-cash impairment
                             charge” related to the Alaska Assets and “announced a loss of
                             $285.7 million,” and “[o]n and around this day, and on this news,
                             risks or truth concealed by, or effects associated with, KPMG’s
                             fraud were partially revealed, leaked out, or materialized, and as a
                             result” the price of the preferred shares declined. (SAC ¶¶ 218-
                             221.)

         March 2015          “Three months later, the Company disclosed yet another
                             impairment charge of $150 million on the Alaska Assets,
                             ultimately writing down almost all of the goodwill from that
                             acquisition.” (SAC ¶ 4.)

         March 12, 2015      “Then, on March 12, 2015, the Company revealed it was taking
                             another $149.1 million impairment charge on the Alaska Assets,
                             increasing total impairment to $414.4 million,” and “[o]n and
                             around this day, and on this news, risks or truth concealed by, or
                             effects associated with, KPMG’s fraud were partially revealed,
                             leaked out, or materialized, and as a result” the price of the
                             preferred shares declined. (SAC ¶ 222.)

         April 29, 2015      The Company disclosed that the SEC “had made a preliminary
                             determination to recommend a civil action against the Company
                             related to its accounting for the Alaska Assets,” and “[o]n and
                             around this day, and on this news, risks or truth concealed by, or
                             effects associated with, KPMG’s fraud were partially revealed,
                             leaked out, or materialized, and as a result” the price of the
                             preferred shares declined. (SAC ¶ 223.)

         May 6, 2015         “On May 6, 2015, the Company announced it was deferring
                             dividend payments on its Series C and D Preferred Stock,” and
                             “[o]n and around this day, and on this news, risks or truth
                             concealed by, or effects associated with, KPMG’s fraud were
                             partially revealed, leaked out, or materialized, and as a result” the
                             price of the preferred shares declined. (SAC ¶ 224.)




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         May 12, 2015       “On May 12, 2015, the Company disclosed that the NYSE had
                            notified it that its shares were subject to de-listing due to its having
                            failed to maintain listing requirements.” (SAC ¶ 225.)

         July 14, 2015      “On July 14, 2015, Miller Energy filed a Form 8-K, attaching a
                            press release in which it announced ‘substantial doubt about its
                            ability to continue as a going concern,” and “[o]n and around this
                            day, and on this news, risks or truth concealed by, or effects
                            associated with, KPMG’s fraud were partially revealed, leaked out,
                            or materialized, and as a result” the price of the preferred shares
                            declined. (SAC ¶ 226.)

         July 30, 2015      “On July 30, 2015, after market close, Miller Energy disclosed that
                            its common and preferred stock would be de-listed from the
                            NYSE,” and “[o]n and around this day, and on this news, risks or
                            truth concealed by, or effects associated with, KPMG’s fraud were
                            partially revealed, leaked out, or materialized, and as a result” the
                            price of the preferred shares declined. (SAC ¶ 227.)

         August 6, 2015     “Also on August 6, 2015, in response to the SEC Enforcement
                            Action, creditors of CIE filed an involuntary petition for
                            bankruptcy in the United States Bankruptcy Court for the District
                            of Alaska.” (SAC ¶ 231.)

         October 1, 2015    “On October 1, 2015, Miller Energy itself filed for Chapter 11
                            bankruptcy, and “[o]n and around this day, and on this news, risks
                            or truth concealed by, or effects associated with, KPMG’s fraud
                            were partially revealed, leaked out, or materialized, and as a result”
                            the price of the preferred shares declined. (SAC ¶ 232.)

         November 9, 2015   Kenneth Gaynor, through his attorneys, files a complaint dated
                            November 9, 2015, asserting claims under Section 11 based on the
                            same offerings of preferred shares at issue in this case. (Ex. 55.)

         January 12, 2016   The SEC entered an order finding that the Company committed
                            federal securities fraud. (SAC ¶ 233.)

         January 28, 2016   The Bankruptcy Court approved a plan that would cancel all equity
                            interests in Miller Energy. (SAC ¶ 234.)

         March 29, 2016     “The Company finally admitted its fraud on March 29, 2016 when
                            it disclosed that none of its financial statements regarding the
                            valuation of the Alaska Assets should be relied upon.” (SAC ¶ 5.)




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          March 29, 2016         “Also on March 29, 2016, the Company finally admitted the truth
                                 that the Alaska Assets were essentially worthless, and that the
                                 Company’s financials to the contrary were a sham that could not
                                 be relied upon,” and “[o]n and around March 29, 2016, and on this
                                 news, risks or truth concealed by, or effects associated with,
                                 KPMG’s fraud were revealed, leaked out, or materialized, and as a
                                 result, Miller Energy’s stock was cancelled entirely, reducing their
                                 value to zero.” (SAC ¶¶ 235-236.)

          All of the above dates are more than a year prior to the September 17, 2017 filing of the

   SAC. Indeed, Plaintiffs allege that information regarding KPMG’s alleged participation in the

   purported fraud leaked out and became public in December 2013—three years and nine months

   prior to the filing of the SAC. (SAC ¶ 4 (in December 2013 it started to become “clear” that the

   Alaska Assets were “worth nowhere near what KPMG and Miller Energy said they were”); SAC

   ¶ 198 (beginning in December 2013, the “truth that Miller Energy was a fraud” and the “risks

   concealed by that fraud” including “by KPMG’s participation” in the alleged fraud “were

   revealed”); SAC ¶ 205 (on or around December 24, 2013, “risks or truth concealed by . . .

   KPMG’s fraud were partially revealed”). Based on these allegations, Plaintiffs’ were under at

   least a duty to investigate by no later than December 2013. Any reasonably diligent investigation

   would have uncovered the purported basis for the Section 11 claim (a non-scienter based claim

   not subject to the PSLRA’s heightened pleading requirements) within the following two years

   and nine months leading up to September 17, 2016 (one year prior to the SAC).

          As discussed above (supra at 10-13, 20), the alleged facts that Plaintiffs claim support an

   inference of scienter on the part of KPMG for purposes of the Section 10(b) fraud claim were all

   publicly known long ago as well. It is inconceivable that Plaintiffs could be on notice of facts

   that, in their view, support an inference that KPMG committed a federal securities fraud

   violation requiring a showing of scienter years ago, without being on inquiry notice of a potential

   claim under Section 11, which has much less stringent elements and pleading requirements.



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          This Court’s decision in Gaynor, a case filed on behalf of Miller Energy’s preferred

   shareholders in November 2015, does not help Plaintiffs here. This Court agreed with plaintiffs

   “that it cannot say with certainty, based on the facts before it, that the prior litigation provided

   more than a ‘storm warning,’ prompting plaintiffs to investigate, rather than inquiry notice.”

   2017 U.S. Dist. LEXIS 130107, at *36. But this Court was addressing only whether prior

   litigation was sufficient to prove inquiry notice. Here, as set forth above, the SAC itself details

   many circumstances beyond the existence of the prior litigation which show with certainty that

   Plaintiffs had inquiry notice. Also, Mr. Weakley waited almost two years after the November

   2015 filing of the Gaynor action before attempting, in the September 2017 SAC, to file his claim

   on behalf of the same preferred shareholders. While this Court observed in Gaynor that a claim

   is barred by the statute of limitations based on inquiry notice “‘only when uncontroverted

   evidence irrefutably demonstrates when plaintiff discovered or should have discovered’ the

   violation,” 2017 U.S. Dist. LEXIS 130107, at *33-34, in the present case, Plaintiffs’ own

   allegations about what was publicly known—which Plaintiffs cannot controvert—irrefutably

   demonstrate that Plaintiffs discovered or should have discovered the claim years ago.20

          Indeed, that a reasonably diligent investigation would have uncovered the alleged basis

   for a Section 11 claim on behalf of preferred stock purchasers based on the offerings at issue

   here is evidenced by the fact that, in November 2015, the Gaynor Plaintiffs in fact brought

   Section 11 claims on behalf of those purchasers based on those same offerings. (Ex. 55 at ¶ 1.)




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             Even if the Section 11 claim were to relate back to the date of the Original Complaint
   (it does not relate back, see supra at II.B.1.), the claim would be barred by the statute of
   limitations because as shown above Plaintiffs had actual notice, or at least inquiry notice, by
   March 14, 2015, one year prior to the date of the Original Complaint.



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                  4.      American Pipe tolling does not apply

          Plaintiffs cannot take advantage of equitable tolling. In some circumstances, the filing of

   a class action lawsuit tolls the statute of limitations for class members under American Pipe &

   Construction Co. v. Utah, 414 U. S. 538 (1974). Such tolling is inapplicable, and the filing of the

   Original Complaint in March 2016 did not toll the statute for the Section 11 claim in the SAC.

          First, American Pipe tolling only applies to members of the class described in the original

   complaint, 414 U.S. at 550 (under Federal Rule of Civil Procedure 23, “the filing of a timely

   class action complaint commences the action for all members of the class”), and neither

   Mr. Weakley nor the proposed class of preferred stock purchasers were members of the class in

   the Original Complaint, which included only purchasers of “common shares.” (Original

   Complaint ¶ 123.) In the SAC, Mr. Weakley asserts a claim on behalf of those who purchased

   “preferred shares pursuant to or traceable to the Offering Documents,” defined to including a

   September 6, 2012 Registration Statement and six prospectus supplements issued from February

   13, 2013 through August 20, 2014. (SAC ¶¶ 33, 285-186 (emphasis added).)

          Second, American Pipe tolling is only available for plaintiffs who refrain from filing

   individual actions in reliance on the previous filing of a class action in which they are members

   of the proposed class; it does not toll the statute for subsequent class actions, Andrews v. Orr,

   851 F.2d 146 (6th Cir. 1988), except in certain circumstances not applicable here such as where a

   prior class action was dismissed prior to a ruling on class certification, see Phipps v. Wal-Mart

   Stores, Inc., 792 F.3d 637 (6th Cir. July 7, 2015). Mr. Weakley purports to bring the Section 11

   claim on behalf of a proposed class of preferred shareholders.

          Third, in no event may American Pipe tolling be invoked to toll the three-year statute of

   repose that governs Section 11 claims. The Supreme Court confirmed in June 2017 that the




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   three-year time limitation applicable to Section 11 claims is a statute of repose that is not subject

   to equitable tolling under American Pipe or otherwise. California Pub. Employees’ Ret. Sys. v.

   ANZ Sec., Inc., 137 S. Ct. 2042, 2050-51 (June 26, 2017).

          C.      Plaintiffs fail to plead an actionable misstatement or omission

          Plaintiffs’ Section 11 claim is based on the allegation that KPMG’s audit reports which

   stated that KPMG had audited Miller Energy’s financial statements in accordance with generally

   accepted auditing standards and that, in its opinion, the Company’s financial statements

   presented the financial position of Miller Energy fairly and in conformity with GAAP. (SAC

   ¶ 268.) Under Omnicare, Inc. v. Laborers District Counsel Construction Industry Pension Fund,

   135 S. Ct. 1318 (2015), an opinion statement is actionable as a misrepresentation under Section

   11 if “the speaker did not hold the belief she professed,” 135 S. Ct. at 1327; and is actionable as

   an omission under Section 11 if “the speaker omits information whose omissions makes the

   statement misleading to a reasonable investor.” Gen. Partner Glenn Tongue v. Sanofi, 816 F.3d

   199, 210 (2d Cir. 2016) (affirming dismissal of Section 11 claims and finding that the opinion

   statements at issue were not actionable under Omnicare). Plaintiff has failed to sufficiently allege

   that KPMG’s opinion statements constitute actionable misrepresentations or omissions under

   Omnicare.

          The audit reports state that they are an expression of KPMG’s “opinion.” (Ex. 9 at F-2, F-

   3; Ex. 10 at F-1, F-2; Ex. 11 at F-1, F-2; Ex. 12 at F-1, F-2.) Under Omnicare, a statement of

   opinion can be a misrepresentation only if the speaker did not believe it. That the allegation that

   defendant’s belief or opinion statement turned out to be wrong “alone will not give rise to

   liability under § 11’s first clause because . . . a sincere statement of pure opinion is not an ‘untrue

   statement of material fact,’ regardless [of] whether an investor can ultimately prove the belief




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   wrong. That clause, limited as it is to factual statements, does not allow investors to second-

   guess inherently subjective and uncertain assessments.” Id. at 1327. Plaintiff has not alleged that

   KPMG did not hold the opinion that Miller Energy’s financial statements were in conformity

   with GAAP. Nor have Plaintiffs alleged that KPMG had formed the opinion at the time that its

   audits were inadequate in any way. Plaintiffs have only alleged that years later the SEC found

   (pursuant to a settlement in which KPMG did not admit or deny the SEC’s findings) that

   KPMG’s audits were deficient and that KPMG should not have formed that opinion at the time.

   Even if “plaintiff could later prove that opinion erroneous, the words ‘I believe’ themselves

   admitted that possibility, thus precluding liability for an untrue statement of fact.” Omnicare, 135

   S. Ct. at 1326.21

          Nor have Plaintiffs adequately alleged that KPMG’s audit opinions are actionable for

   omitting any particular information. Plaintiffs’ primary theory is based on a misstatement theory:

   that KPMG made affirmatively false statements (that based on its audits in compliance with

   professional auditing standards it believed the financial statements complied with GAAP). While

   Plaintiffs also purport to assert that KPMG made material omissions, the alleged omissions are

   not true omissions, but rather merely the same alleged misstatements recharacterized as

          21
              Other courts have recognized that audit opinions are just that, statements of opinion,
   under Omnicare. See Special Situations Fund III QP, L.P. v. Deloitte Touche Tohmatsu CPA,
   Ltd., No. 15-1813, 2016 WL 1392280, at *3 (2d Cir. Apr. 8, 2016) (holding that defendant’s
   audit opinion was a statement of opinion under Omnicare and plaintiff’s bare assertion that
   auditor had conducted a deficient audit investigation and omitted facts that contradicted its audit
   opinion was insufficient to state a Section 18 claim); In re Velti PLC Sec. Litig., No. 13-CV-
   03889-WHO, 2015 WL 5736589, at *19 (N.D. Cal. Oct. 1, 2015) (finding audit opinion to an
   statement of opinion under Omnicare and dismissing Section 11 claims against auditor where
   plaintiff failed to identify adequately which facts auditor allegedly omitted from its audit
   opinion); Se. Penn. Transp. Auth. v. Orrstown Fin. Servs., Inc., No. 1:12-CV-00993, 2015 WL
   3833849, at *7, 34 (M.D. Pa. June 22, 2015) (finding audit opinion to be an opinion statement
   and dismissing Section 11 claim against auditor where allegations amounted to “little more than
   the conclusory assertion” that defendant’s audit opinion lacked reasonable basis).



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   omissions. For example, Plaintiffs allege that KPMG’s statement—that based on its audits in

   compliance with professional standards it believed the financial statements complied with

   GAAP—omitted to disclosed that its audits did not comply with professional standards and that

   the financial statement did not comply with GAAP. (SAC ¶¶ 310, 319.) But, any misstatement

   can be made to look, superficially, like an omission in this manner. That does not change its true

   nature; it is still an alleged misstatement.22




           22
              Also, Mr. Weakley lacks standing to assert the Section 11 claim. His filings make clear
   that he did not purchase directly in any of the relevant offerings (the dates and amounts of his
   purchases do not match with any of the offering dates or offering prices). (Ex. 56; SAC ¶ 286.)
   As an after-market purchaser, he cannot show that the particular shares he purchased are
   traceable to any of the particular securities offerings on which he sues. Given that he is not even
   attempting to bring a claim based on the February 13, 2013 Offering (SAC ¶ 317), he cannot
   deny that there were pre-existing preferred shares in the market at the time of his purchases.
   There is no way, therefore, for him to show that the particular shares he purchased came from
   one of the offerings at issue in the SAC rather than from a prior offering. Nonetheless, in light of
   this Court’s decision in Gaynor, holding that the standard for pleading traceability for Section 11
   is more lenient than the standard applicable to Section 12 and holding that an allegation that a
   plaintiff purchased shares “pursuant to and/or traceable to” the offerings is adequate at the
   pleading stage, KPMG is not seeking dismissal for Plaintiffs’ lack of standing at this time.



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                                          CONCLUSION

          For the foregoing reasons, KPMG requests that the Court grant its motion to dismiss.

   Because Plaintiffs have already amended their complaint twice, and because the grounds for

   dismissal set forth above are insurmountable, KPMG requests that dismissal be with prejudice.

   Dated: October 20, 2017

                                               Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on October 20, 2017, a copy of the foregoing was filed electronically
   and served via the Court’s CM/ECF system on the following:

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